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            IN THE UNITED STATES DISTRICT COURT FOR T]


                     WESTERN DISTRICT OF OKLAHOMA                        AUG 1 7 202]
                                                                       TA mmViR SHINN
                                                               as.
UNITED STATES OF AMERICA,                                      BY     "      WESTERN DIST.OKU.
                                                                                        .DEPUTY


                    Plaintiff,

             -vs-                              Case No                                  JD
JAMES DANIEL GARRETT and                       Violations: 18 U.S.C. § 922(u)
KENNETH DALE GARRETT,                                      18 U.S.C. § 2(a)

                    Defendants.


                                  INDICTMENT


The Federal Grand Jury charges:

                                      COUNT 1
                         (Theft of a Firearm from Licensee)

            On or about May 15, 2021, in the Western District of Oklahoma,

                         JAMES DANIEL GARRETT and
                         KENNETH DALE GARRETT             -


did knowingly and unlawfully steal, take, and carry away from the premises of a person

who is licensed to engage in the business of importing, manufacturing, and dealing in

firearms, to wit: Bass Pro Shops Outdoor World, 200 Bass Pro Dr., Oklahoma City,

Oklahoma 73104,the following fireann: an Huglu Cooperative, model Silver Eagle RZ17,

12-gauge shotgun, bearing serial number 39-I21PT-1249, which was in the business

inventory of Bass Pro Shops and which had previously been shipped or transported in

interstate commerce to reach the state of Oklahoma.
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       All in violation ofTitle 18, United States Code, Section 922(u), and Title 18, United

States Code, Section 2(a), the penalty for which is found at Title 18, United States Code,
Section 924(i)(l).

                                                 A TRUE BILL:




                                                 FOREPERSON OF THE GRAND JURY



ROBERT J. TROESTER
Acting United States Attorney



STANLEY J. WEST
Assistant United States Attorney
